Case No. 1:20-¢v-01113-LTB Document 1 filed 04/20/20 USDC Colorado pg lof 33

IN THE UNITED STATES DISTRICT COURT F\ LED

FOR THE DISTRICT OF COLORADO REGEIWED,

UNITED STATES DISTRICT COURT
DENVER, COLORADO

|
Civil Action No.
(To be supplied by the court) APR 20 2020

JEFFREY P: COLWELL
CLERK

 

pucPlaintiff

 

UNITED STATES INGWRPORATED ’
COLORADO SUPREME (OURT tANcoRPORATED 5
THE PEOPLE OF THE STATE Of (OLERADO KNcOR PORATED ,

See riathed *£ B. DEFENDANTS IN FoRMAIZON , Defendant(s).

(List each named defendant on a separate line. If you cannot fit the names of all defendants in .
the space provided, please write “see attached” in the space above and attach an additional
sheet of paper with the full list of names. The names listed in the above caption must be
identical to those contained in Section B. Do not include addresses here.)

|

PRISONER COMPLAINT

 

NOTICE

Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the court should not
contain: an individual’s full social security number or full birth date; the full name of a person
known to be a minor; or a complete financial account number. A filing may include only: the
last four digits of a social security number; the year of an individual’s birth; a minor’s initials;

and the last four digits of a financial account number.

Plaintiff need not send exhibits, affidavits, grievances, witness statements, or any other
materials to the Clerk’s Office with this complaint.

 

 

 
Case No. 1:20-cv-01113-LTB Document 1 filed 04/20/20 USDC Colorado pg 2 of 33

t
\

|
I

A. PLAINTIFF INFORMATION
You must notify the court of any changes to your address where case-related papers may be
served by filing a notice of change of address. Failure to keep a current address on file with the

court may result in dismissal of your case.

 
   

ameé, prisoner identification number, and complete mailing address)

EMPEROR MESSTAH KING PROPHETO Abdul~ Hakim
(Other names by which you have been known)

Indicate whether you are a prisoner or other confined person as follows: (check one)

Pretrial detainee

Civilly committed detainee

Immigration detainee

Convicted and sentenced state prisoner

Convicted and sentenced federal prisoner

Xx Other: (Please explain) NGA (ITI26) ieRETGN NATIONAL HELD AS GCAPIVE POLITICAL Horde /PnBoivee OF Wap

 

B. DEFENDANT(S) INFORMATION

Please list the following information for each defendant listed in the caption of the complaint. If
more space is needed, use extra paper to provide the information requested. The additional
pages regarding defendants should be labeled “B. DEFENDANT(S) INFORMATION.”

Defendant 1: UNITED STATES LN CORPORATED FEDERAL GOVERNMENT
(Name, job title, and complete mailing address)

| First St pve. Washington Dc 20573

At the time the claim(s) in this com pplaint arose, was this defendant acting under
color of state or pant law? Me ___No (check one). Briefly explain:

THE UWITED STATES TNCORPORATED (oMPANY AND FEDERAL (OVERNMENT ARE Bouyd

To THE (ommony LAW AND WORD of GOD WHICH TS Bound Tu THE BULL OF RIGHTS 1742

Defendant | is being sued in his/her x individual and/or xX official capacity.
|
Case No. 1:20-cv-01113-LTB Document 1 filed 04/20/20 USDC Colorado pg 8 of 33

Defendant 2: _ (otoRADO SUPREME (OURT INCORPORATED FEDERAL GOVERNMENT
(Name, job title, and complete mailing address)

HE, 14th Ave, DENVER, LOLGRADA 20203

. . oo. . . |
At the time the claim(s) in this complaint arose, was this defendant acting und
color of state or federal law? x Xe 8 <r

es___ No (check one). Briefly explain:

 

Defendant 2 is being sued in his/her individual and/or ~_ official capacity.

)
Defendant 3: THE PEOPLE Gf THE STATE OF (oleRANd raresbes IN(ORPORATED
‘ (Name, job title, and complete mailing address)

UNWNOWA PLACE OF RESIDEAILE UR BUISWESS

At the time the claim(s) in this complaint arose, was this defendant actin id
color of state or ja in xX Yes ___ No (check one). Briefly explain: “r

THE PEOPLE @€ THE STATE GF (0leRADO TMCORPORATED ARE NAMED OA/ ALL CHARGING

ELNSTRU MENTS THAT HOLD ME AS 4 POLITICAL HOSTAGE AWD PRiIsoveR OF WAZ IN (alg Ade

Defendant 3 is being sued in his/her X individual and/or _X official capacity.

C. JURISDICTION
Indicate the federal legal basis for your claim(s): (check all that apply)

42 U.S.C. § 1983 (state, county, and municipal defendants)

|
Bivens v. Six Unknown Named Agents of Fed. Bureau of Narcotics, 403 U.S. 388 ( 1971)
(federal defendants) :

XC Other: (please identify) 25 v.5.66.5 199; Wind v. People, 774 Fed, A ppx 49
(5 USCS 10) et sep) 30 ALR Fed 114 and Pursuant to WS: Public Law 97-Q90'" the

Word oF Gd" Ccommon Law) Amendment x of the Bill oF Rights 1742
Case No. 1:20-cv-01113-LTB Document 1 filed 04/20/20 USDC Colorado pg 4 of 33

/ \
.  B. DEEENDANG INFORMATION.

 

Salicitor General of the vaited States
Ro dm 36lo Defurtinent of Justie

150 Pennsylvania Avenue, NW, Washington, De ad530- goo] |

DEAN WIlLLTAms ( EXECuTIVeE DIRECTOR)
1450 Aca lemy Pack Loop cojorado springs 0 80410

 

RYAN LONG _{ WARDEN)
10400 Swi¥h Road Denver,(o S0234- F004

 

Putnam Cevaty (out tk

Yo Glemerda AV enue Cormal WY, 105 }2

 

THOMAS Lx TTLeé (WARDEN )
P.0. Box 777 cane Cty, (o BAIS

 

Federat Buers oF Snvest inet ions
000 E 36 W, Avenue Dever, (o £0 a3F

 

¢ elorade Secteraty af state
1706 Read way sure A00 Denver, (0 80203

 

 

 
Case No. 1:20-cv-01113-LTB Document 1 filed 04/20/20 USDC Colorado pg 5 of 33

 

 B DEFENDATa INFORMATION”

 

LARRY WINEGARDNER (5987) (Case manacen)
DONALD AIUNEZ (3726) (Maron?

STEVEN Bourne (16775) (caprazn)
LT WILL

LT CYLSTRA
(. cast MANAGER) COX _ (1146)

 

Pd. BOX 777_cansw city (o G15

 

MAT Wrnoen ( Wagpéent)
P.O BOX G00 (ANON CITY CO ¥IAlS

 

THE DENVER posT

5440 Washington strest Denver, Co ZOrI6

 

KATE KNOWLES BARE:43724 AKA KATHERINE KNOWLES BAR#i47073_,

 

PETER A,WEIZR
RUSSELL BOHNER
500 Telfersen County Parkway Gaiden co %04Y0 |

 

DENTSE KENNEDY
1005 Nrow Street Westmin stec, (0 ¥0030

 

 

 
Case No. 1:20-cv-01113-LTB Document 1 filed 04/20/20 USDC Colorado pg 6 of 33

 

f

(
B. DEFENDANT (s)_ tw for MATEO.

 

REBECLA_HANSEN (ACI 1a)
FZEWTEL spoirs (Aco6os)
ARISTEN MILLER (Ac 1526)
NINA THOMAS (AC 07/3)
RANDALL PLAN 6 (Acy2084)
JAMES MeKENZZE (Ac 4048)
MATTHEW _D MARQUEZ
EVAN (oon (Ac 1624)
ROBERT SHEETZ (AC]¢dv)
STANLEY WATSON (ACIHI5)
KENNY SHERMAN (ACo} al)
BRADLEY QuILnweER (ACI303)
RYAN C Davipsonl (Ac143a)
MATINEW NEWCOMER (AC 0707)
BRIDGETT DouGHerTy (AC4 42a)
LEE pAcé (Ac4314)
SCOTT PERRY (AL 060])
SCOTT SMITH (ALONG)
RYAN _P MCCARTHY (ACI7IN)
Ruby AGurgre (Acixo))
ALYSSA AKER (ALI6I7)
SARAH BARTLETT 4c 1¥05)
ANDREW EWrMe (AC 1590)

 

 
Case No. 1:20-cv-01113-LTB Document 1 filed 04/20/20 USDC Colorado pg'7 of 33

 

" Be DEFENDANTS) xy FORMATION !!

 

MYKELANN WISE (AC0624)
(ODEE GERDEMAN (Aci7/4)
Ferwstept (Aci617)
RICHARD A. RETGEN BORN
M. T. McInTusH
CASSIE MCGREGOR
HEAD QUARTERS 332 1V- 19th Ave Briton, lo $0.60)
JALL DivISTon 150 Narth. |ath Ave Brighton 40 8060

DETeC tive prvEston 4a )0 East Zant Ave.sutec commerce city, (0 200d%

 

(HELSTE CHURCH

C/o REBECCA CHURCH

REBECCA CHURCH

Parent of CHELSIE (HURCH

6AS5 West 78th Place Arvada (0 0003

 

MARSHALL BRETT BARt ’ 34795
MULLIGAN BRETT, LLC
1¥0|_ Broadway—sute 1203 Denver co Y0I7d

 

EMILY _M_FLETSCHMANN BAR. 33504
EAN HvupSon MCPAvED BAR#: 513 24
4 J10 East Be om ley Lane, Brighton, (d 6060]

 

 
Case No. 1:20-cv-01113-LTB Document 1 filed 04/20/20 USDC Colorado pg 8 of 33

 

‘f
B. DEFENDANT(s) INFORMATION»!

 

DEREMY RuBERTS (20104)
RAY_ESSLINGER (30103)
KELLY Bare (24230)
DAVID_R LESTER (3.0 #96)
JASON S POPPENGER (2010/)

ANNE CLoY ED (3057)
JAMES D BuckNER (20984)

BERNARD D, voNFELD (20884)
LOGAN trowete (2/405)

ERIC FEOLA (AI713)

MICHAEL BRUHW HARers (21306)

JasHuA J. JOHNsov (20103)

PAUL _E NEWToA/

ROGER D'COX (36404)
Westmiarster Police Depactmest
Westminister public Safeby
(110 Yates steet Westministey, CO ¥003|

 

JESS A REDMAN _BaRtEs 320176

JENNIFER CAY RATKIEWIC2 BAR: 34074
SOHN ALLEN VANLANDS(HUOT DARA: ¥500|
PATRICK DANIEL (OSTIGAN BAR: 35476
JAMES PETER HOUTSMA BAR: 36700

 
Case No. 1:20-cv-01113-LTB Document 1 filed 04/20/20 USDC Colorado pg 9 of 33

 

f ~
B, DEFEND ANTS) IN FoRMATON

 

DALLA WEELDREYER BAR dt: 49324
Jile A HuUeSeR BART 4324
AATELIN loursé Konecny Bart: 45904
DAVE Youn & BAR FF: AME
[O07 Yudical Cearer Prive gute oo Beige On, (6 $066 |

 

KATHLEEN MADDEN BART! 4900105
“SOHN ROBERT LOWENBACH BARS: 6954
TOMEE CRESPLIW Barty: 31450
ROBERT WALTER ATES Now SKr ye BARA 017
DEANNA L ROYRAL BARSES 26157

BYROW L HOWELL BARS? QY6oY

CINDY HULL BRUNER BARFS 1444
MICHELLE R MARTIMEZ-THOMAS BAR’ 3863]
100 Sudicial ceater pecve Briytsn co 2060)

 

NANCY PELOSKT
HILLTARY CLENT ON
WILLTAM (LINTON
PRESZDENT ROOSEVELT (1433)

CEN TERAL INTEMTC ENCE ACLVLY
UNITED STATES LN (CORPORATED

| First street NE Washing ton, DC 40373

 

 
Case No. 1:20-cv-01113-LTB Document 1 filed 04/20/20 USDC Colorado pgj10 of 33
1
|

t

D. STATEMENT OF CLAIM(S)

State clearly and concisely every claim that you are asserting in this action. For each claim,
specify the right that allegedly has been violated and state all facts that support your claim,
including the date(s) on which the incident(s) occurred, the name(s) of the specific person(s)
involved in each claim, and the specific facts that show how each person was involved in each
claim. You do not need to cite specific legal cases to support your claim(s). If additional space
is needed to describe any claim or to assert additional claims, use extra paper to continue that
claim or to assert the additional claim(s). Please indicate that additional paper is attached and
label the additional pages regarding the statement of claims as “D. STATEMENT OF CLAIMS. ”

CLAIM ONE: “TRESPASS !
|

Supporting facts: the lejisigture cannot lawtully control Me because I am 4 Flesh and

blood human ben A
ng, A\lah aion ( t - ¢
@ Cfeated Me, and by Ril vf Ceation, ANali glee

is the watute of La
Watural Law js the forie Het |

(an (Contro| Me, 7 +
‘it 4+ 5 Th
w,
tthe Why ove Ceqtes, One Control tw

. vnds a (fect 4
Cleat aqiure to TS eat C -
“ted Me and 1 cam therefore, Subject to Allah's L pee aes
a

Allah as (feator, WS as JT acknowl dg e

the Respondents /Del endants G2 all Named as an Equal/an jownder, in Regard
to All Clams set forth, the Respondents /

Defendunts are all ¢ in gui
uq) iv ult! for
TRESPASS, RACKETE ERING and TREASON :

OPerating under a Military soci) Construct

J the Respondents *malirad

aS Administrators oF the vs MA Peltadacs hav contracted by ‘mphcation
‘Benkruptcy, The ResPondenits /pefendants have

enjoyed privlede
' €S Co dlect; .
ad ih j ect ng Booty i” the $Pols of W th
€ theRF Oe held sin the be — ae, « ResPandents/ Defendants

De- facto Bank rupt

104 and Pavledge aS an egual
ats / Nebtors are corruptoss of the

Additional paper is attached See: §*f), STATEMENT 0 (LAIMS,”
Case No. 1:20-cv-01113-LTB Document 1 filed 04/20/20 USDC Colorado pg 11 of 33

 

‘* D.STATEMENT OF (LAIMS,”

 

lot se_4o_ait_wnam these Presents_may comets qm hee atallZ am 50.05 Man‘_T. am_NOT hece

 

 

aso resident of any state. (Nation), nosamzof ot “inthis State’, nor am T_o [Statutorcg)

 

Stee ', ’ f t '
______¢itizen ofthe united States” (in Congress ascemb O)as All ove Sictionsfereations of

govecnment and therefore and_as suc_Mo statutes. opply.to.Me.as.evidenced Zama

 

 

 

 

Lieatute of Nat we (the ceatos) and therefore Tam a transient foreigner by Natuce While __

 

traveling though Life, conn Were aso intinere,as a neuital, fora shor time,on my way

 

to_the greater beyond, a steward of my falber$_tand_an b_wishes.My documents of “in.intinere

 

_______Stunding ace cevorded for ailto_see: See: Dred scott v, Sanford, 60.us (14How,) 393, 545_

 

 

(1257) Justice_¢ ut $,5,.C4, Notice of full faith ond_credet (2,Me Myself a wa“ Stole, with

 

—____—_Stanling, 54a ndiin 10 0tigina [jucs sdiction Known_o s the common low, Allahs_Law.o neutral

 

—____itoveling in itinere,demanding all af my cights under Godi Natucel tows, recorded in Partin

 

 

the Tofah,Bibleond Qurlan, which lou 1S Kecouni2ed in US public laws 47-286as- the word

 

 
Case No. 1:20-cv-01113-LTB Document 1 filed 04/20/20 USDC Colorado pg 12 of 33

 

*¢ D STATEMENT of Claims”

 

 

o£ GOD and all_men ae admonished to leatn and apply 1% 50.5: demand anyone and eveyone

 

 

po notice Gods Laws, which are My Moers Lows and thecefare My laws! )-Achiele

 

rof the Bi of Rights=quorantees freedom of Religion.

 

 

er announ (e_my_Shhalnadah_—(destimany) tia eng lish then Arbicir beat witness

 

_____Fhat Phere is no_deity except Allaly, who has ino patter, nd that Muhammad

 

 

LS_His_secvant and messenger (aslalnaduaa_latilala Mo _Al\ala, Waladalss la

 

 

Shatikal lahuwa_ashhadu_anna Muhammadan 4 bdulu WI

 

___pasulalau),

 

The_law_is_hnowledge, the Path actor, the Toth attanment veto God. then — —__

 

blhoso_hoPeth to meet las tord,.} et_iiwa_do_good works anda ssotiate mone

 

other in te secvice of his Lord And God bless tne hect of H i's Cledtures,Mulmammad,

 

 

and bis fawily_ aed bis compeainns and Hoe people of hi s House, and_gvunt then Peace |

#.

 

 

 
Case No. 1:20-cv-01113-LTB Document 1 filed 04/20/20 USDC Colorado pg!13 of 33

of - i
D, STATEMENT GF CLAZMS

 

_The ley slat ure Cannot lawfully control Me because Tam_a flesh and biood human being Alli .

 

alowe_created Me, and by Right of creation, Allah alone can control Me, T+ 1s the nature! of Law,
) ;

that what one cleates, one controls, This natural law 1s the force thet binds a creature to its

 

creator Alla Alone created Me ond ram +eretore, subject to Allah's Laws as r acknowledge

 

' Alla as creator, The peodle vs. Herkimer, 15 Ameritun NeciSions 3 24,4 Cowen (NY 345,393.C1925), f

4S GSI, n_lad, United States ver Fox, 99 5, 3145 Hale vs Henkel, M1 us 43 at JU, LU SC ssf,

 

chuech of Scientology vs. eS, Dept, of Justice, bia Fad 417, 425 (1479),

 

 

Amendment 2, THE BruL of RO ase akateabe TIA ABRE AY se cca 19-036

 

5 . ~ tog tl o-qye |
Congress shall make tno laws respecting an establishment oF religions or Prohibiting the free
a + yo

 

exercise Hereots or gh nid ging Hho freedom of speech’ or of Phe press + or the right of
f t 4 7

 

the people peaceably to assemble’ or ty petition Fre Government far redress of gsievances,

 

 

 
Case No. 1:20-cv-01113-LTB Document 1 filed 04/20/20 USDC Colorado pg 14 of 33

 

uf \
“De STATEMENT Of CLAEMS;

1

All uw enforcement today, wacluding Hhe_ NATIONAL PARK POLICE, SHERTEES, awd DEPARTMENT Of _,

 

-SYRRECT IONS, roll w0 to Intecpol, Which 1S 4 military organ Zgt0n, The palice Grea Prvete grmy
a 7 OD *

 

|
and have been ot wat with the people since. pres. dent ROOSEVELT, under color of Lauy,.4 \t ered

+e Trading With the Enemy Att, effectively dlecclucing all Sovereign Americans ts be enemes

 

 

of Phe Stute,., Unrted Stales vs, bee, 106 U.S 196 at 2085 perty vs, united states, 144, US330,,
2 )

 

353 (1935)* Vick wo vs Hopping, 112 Us 3565 Julliard vs; Green men, LIU ViSeYR)? DOwn VS.

 

Bid we) i 15d US, aT.

 

 

On October 6 1417, the UnizTED states passed a Corporate policy called Hoe. Teading with the,
I

 

Ememy Act, tn Section a, Sub-Section (c) of the Act it defines the enemy oS “other than

Aitizens of the UnzTeD stares ’! 12, any individual_nat born im the District of Columba, a.

 

 

. r r .
Fecestory , oF Possessi0n of fre UNITED STATES — the so vere gin people of Amen ca,

 

Sovereigns ate. “Foreign” to the UNITED STATES, Then on Match %, 1933. the trading with
1433, sy .

 

 
Case No. 1:20-cv-01113-LTB Document 1 filed 04/20/20 USDC Colorado pg 15 of 33

 

is
D. STATEMENT OF CLAIMS."

 

. ' . | r
the Enemy Act was agan amended for the purpose of tontiscating ail private geld hald.rgs. While.

 

the amendment only targeted "Citizens of the unirren stares,” the Executive onler callingiin the

 

. f ,
gord wes Circulated Hhioghout Awe. 50 States of the Republic, waPl ying that those “Foreign to

 

4+\@_ UNITED STATES where giso obligated ty comply with the order, The trick worked. A dollar of

 

gold wuts exchanged for a dollac of debt the debt was owed do the feleral Reserve Bank

 

 

system fuled by huge pofits for municipal _cocporations Counties, judges, qttorney S,

 

r t r . |
Looked Cops, and Hne prison industry, Tt 1s 8 veey sophishiccted Rube 4eeciag

 

54am Lation and TREASON AGAINST ALL GEAMERECA ! U cova, Comsi, Art.2r, section 9,

 

eT REASONG 16.5.6 1YSG RICO ACT 3 1 WS, C (961-1965 RICO AcTs YG Am JIst States $41. Federa |

 

|
Tort clams Act, 98 vSC9S M4l et sey 3 20 Am Jad che $ Idd.) 720 ALR 3d 535 Hobbs ActiG77

 

wash ub 3365 5 uscs § Jol e+ $e | 30 ALR fed TIN 4 TOF Hartley Acts Cleon Trust Act, Shaith Act

 

 
Case No. 1:20-cv-01113-LTB Document 1 filed 04/20/20 USDC Colorado pg'16 of 33

 

6¢
De STATEMENT of cars,

 

 

The _veS. Courts ere NOT constitu Lidhal, They ae military courts of Admiralty based_on the private s

 

 

coryciglted International law of ¢ ity. The judges and attorneys ate administrators of the v.s.

 

bankruptcy. they ate power hungry Sociopaths, experts in lying, cheating Stealing, and

apf

 

 

intimidation, Who are used_to getting there way and running fd4gh shod over the“ people’’

 

Coepe - r
They.ofe the officers’ OF Phe corporation compelling me to their private - corporate. statutes?

 

Unlowtully, to complel my Obediencg, extract revenne from me and wwaprison Mme Uita y

 

 

tsit facilities” for Heir commercial gains) Machin etal vs. the Lessee of Waddell (1344) YI
|

 

eS CIE Per) 367,410, 10 L. D947, 10135 EX Parte Owen, jo Okla Com Rep AFY, 136 7197, Cas 1416 ASODe

 

Calo. Cowst Ack TE, Section | VESTMENT OF POLZI ICAL PawER 4 the Peale vs. Harkimec, IS Amenian

pacisions 3744 Coven (ny 345,349 (19 a5): Lansing vse Smith 4 wead 4, a (1994) 5 Glass
|

 

 

f_3 I

vs the S\oap etsy, 3 Dal| 64 Colo, Const, Art, 2 Section d people MAY ALTER OR ABalLtsH taM

 

o£ _ GOVERNMENT, Al 10 Amendments of THE BrLL OF RIGHTS 1742

 

 
Case No. b20-ev OFS LTB Document 1 filed 04/20/20 USDC Colorado, pg jl7 of 33
‘ ’ 4 ‘. . . t
. I

; . L
(CD) STATEMENT OF CLATMS,” CE, ADMENLSTRATIVE REMEDCES,"

he , k

Agreement and Affidavit for Waiver A :

|
|
1
. { 4
|

WHEREFORE, the Adams County Sheriff's Office does recognize the jurisdiction of Sheriff M. Mcintosh as

a duly elected representative of the people of Adams County, AND WHEREFORE the Adams County .
Sheriff's Office does recognize the ju-:su.ction of Magistrate B. Howell, The Adams County Sheriff's ~

Office does recognize that the Judge’s Order does include that the Adams County Sheriff's Office SHALL
obtain fingerprints;and DNA to obtain identification.

WHEREFORE, the Adams County Sheriff's Office, as a recognized law enforcement organization under

the direction of Sheriff M. Mcintosh, a duly elected representative by a majority of land ownérs i in the
County of Adams, Colorado i is compelled to follow the orders of any Judge or Magistrate under the law.
This SHALL include-any | orders to obtain fingerprints and DNA where those fingerprints and DNA are .
used for identification of any individual. ‘

WHEREFORE, GREGORY CARL WIND who as a'citizen existing in self-sovereignty is the subject of the ‘
Judge’s Order under case 2018CRO00698. AND WHEREFORE that Judge’s Order does demand that
fingerprints and DNA SHALL BE COLLECTED the Adams County Sheriff’s Office must collect those so

‘Ordered. | ‘ eto

4 {

: WHEREFORE, GREGORY CARL WIND who does ‘exist, as a citizen in self-sovereignty MUST comply with
the order of Magistrate B. Howell. > ‘ '

UNDER NO ) CIRCUMSTANCES will the Adams County Sheriff's Office nor.any of its ‘assigns or or proxies hold
these fingerprints or DNA as an admittance of guilt for the named party GREGORY CARL WIND a.citizen
in'self- -soversignty, The Adams County Sheriff's Office does also hold that any fingerprints or DNA SHALL
BE USED ONLY.FOR THE PURPOSE OF IDENTIFICATION of the party GREGORY CARL WIND a citizen in self-
sovereignty. . :

} foo , ns : . ‘
j ‘ : : . '
It is so recognized this fifth day of April two thousand and eighteen (04/05/2018) that the undersigned,
asa representativelof the Adams County Sheriff’s Office, does agree that the collection of fingerprints '
for Gregory Carl Wind, a citizen in self-sovereignty SHALL NOT CONSTITUTE AN ADMISSION OF GUILT

FOR ANY REASON. | 7,° ,

a hie Lr Bb Date: t / J LE

-

Pim,

   

Representative;

Tee clade ‘

36.7 Mekire __,a Notary Public for said County and State, do hereby certify that
3 Adj icegeey | 2. . personally appeared before me this day and acknowledged the due
execution of the foregoing instrument. Pas Le Sonn

20. 1s. hs a oe "CASSIE MCGREGOR
Sf NOTARY PUBLIC
ope , ‘ ‘| ° STATE OF COLORADO

“ b
4

Witness my ‘hand and Sfficial seal, ‘this the vi “s “day of.

i ao

 

 

| NOTARY ID 20154042303
‘ MY COMMISSION EXPIRES OCTOBER 27, 2019

 

 

 

' t ‘
Case Noe 2:20-0v Of) 28 TR Document 1 filed 04/20/20 USDC Colorado pg,18 of 33

|

 G REQUEST FOR RELI ER” * F, ADMINISTRATIVE ReMFDIES.”

t

De STATEMENT of (LAIMS.”

UNITED STATES TNCORPORATED
t
| :
COLGRADO ATTGRNEY GENERAL “1

FEDERAL BUERO of ENVESTIGATIONS

|

THIS IS AN ORDER TO CEASE AND DESIST

 

The use of the name(s) GREGORY WIND, GREGORY CARL WIND andi GREGORY

CARL WIND JR a corporate entity. I am the owner of such said name(s) and said’

eas , ae
attorney: Infact You do not have my permission to use my property rights. It
{ | os .
seems to me you are commanding me to surrender my private property for your use

without compensating me? My name is my property and I do’not give away any of
é | ‘

my name(s) for the use of others without being compensated. I demand that you
CEASE AND DESIST the use of my name(s). Since you have used that biece of
property already you are hereby noticed that the fee inquired for the use/of my
property amounts to be $2,000,000,000.00 (TWO BILLION DOLLARS). I will not
waive the charge you have incurred. I demand you elect not to ever use my
name(s)/property again CEASE AND DESIST such usé IMMEDIATELY!

Further Affidnt saith not .
Dated this] payor Ari \ 20av /shaban -16 441

[J Weeions prejudice EMPEROR MESSIAH KiNG pRopHeTO Abdul- Ha Kies ,
5/ EMPEROR MESSIAH PROPHET

s/ Gregory Carl Wind JR, T.M..W.O.P,LLEC
Affiant and Authorized Representative.’ ~ |

Attorney — In — Fact in behalf of GREGORY CARL WIND,

GREGORY CARL WIND JR,GREGORY WIND, GREG W IND, ins
legis,sovereign political Power holder The flesh and blood man. Religious
Scientist. Science of MIND,GOD-BODY. A child of the living God, Grantor.
secure par ty, suijuris, apr ivate man on
The land an American by birth and Principal of which Rights existed long
Antecendant to the organization of the states andTrustee

 

ree ee ae ee
TASTE ERE OF WATCH ® GROQUEST Hon RECON abies R ERE pe ONS

3/31/2020 Anthony G Wind, Jr - March 30, 2016 - Obituary - Tributes.com
. Backstrom-Pycatte F LH
Anth ony G Win d, Ir ackstrom-Pyeatte Funeral Home
. 2230 N. Thompson
Born: April 9, 1930 P.O. Box 6294
Died: March 30, 2016 Springdale, AR 72766

Location: Siloam Springs, Arkansas —ackstrompyeatte@sbeglobal.net
Tel. (479) 756-2010

 

Tribute & Message From The Family

Anthony G. Wind, Jr., 85 of Siloam Springs, AR passed away Wednesday, March 30, 2016 at
the Washington Regional Medical Center in Fayetteville. :

Anthony was born April 9, 1930 in Buffalo, New York, a son of Anthony G. Wind Sr. and
Teresa VanLeckWyck Wind. Anthony marr. ied the love of his life, Ruth V. Brown on June 26,
1954 in Coatesville, PA.

Anthony joined the U.S. Navy and served during the Korean Conflict. After his discharge he
worked for AT&T as a Telecommunications Engineer, responsible for designing x the layout of
Fiber Optic Cables. While working at ATT he went to night school and earned his Bachelor's

in Engineering.

Anthony was very talented musically having played the Xylophone in his high school
marching band, sang in a quartet, a member of the Old Cathedral Choir and substituting as the
organist while in Buffalo, NY, was the Choir Master in Carmel, NY for 25 years, land was

music coordinator for the Saints Volunteer Fire Department Marching Band. !

Anthony was also very active civically having been the Director of the CCD for 25 years,
Commissioner of the Boy Scouts of America for 30 troops in New York, a member of the
Kiwanis Club, the American Legion Post #29 in Siloam Springs, the Computer Club, the
Model Train Club, was Past President of the Ark-Oma Whirlaways Square Dancers, an avid

genealogist, gardener and loved to play dominoes.

Anthony was a member of the St. Mary's Catholic Church in Siloam Springs and was a Fourth
Degree Knight of Columbus, having been instrumental in starting both the 3Rd Degree and 4th
Degree Councils in Siloam Springs and served as the Faithful Navigator.

Anthony is survived by his wife, Ruth Wind of the home; children, Marie Wilbanks of Gentry,
AR; Anthony Wind HI of Gravette, AR; Paul H Wind of Mt. View, AR; Louise K. Vega of
Newberg, NY; Kateri B.Killman of Siloam Springs, AR; Cecelia R. Wind of San Diego, CA;
Larry Wind of Siloam Springs, AR; and Judith Ann Wind- Walker of Ramona, C A; 15
Grandchildren and 21 Great Grandchildren.

He was preceded in death by one son, Gregory Wind and one grandson, Anthony |Wind IV.

Visitation will be held at the Backstrom-Pyeatte Funeral Home on Friday, April i! 2016 from
6:00pm to 8:00pm with a Rosary Service being conducted during visitation at 7:00pm.

www.tributes.com/obituary/print_selections/103440860?type=1 1/2
Case No. 1:20-cv-01113-LTB Document 1 filed 04/20/20 USDC Colorado pg 20 of 33
3/31/2020 Anthony G Wind, Jr - March 30, 2016 - Obituary - Tributes.com

A Funeral Mass will be held at the St Mary's Catholic Church on Saturday, April 2, 2016 at
10:00am under the direction of the Backstrom-Pyeatte Funeral Home of Siloam Springs. To
sign the online guest book, visit www.Backstrom-Pyeatte.com.

In lieu of flowers memorial contributions can be made to the American Legion Post #29 or to
the Knights of Columbus 3rd Degree.

 

 

Powered By

tributes.

This information provided by the CSP Library
Approved for 1A. ad AE [SHU le

On. 4% -B\-2¢

Approved by: Wisbreet wo _ Librarian

www.tributes.com/obituary/print_selections/1034408607?type=1 2/2
Case No. 1:20-cv-01113-LTB Document 1 filed 04/20/20 USDC Colorado pg 21 of 33

E. PREVIOUS LAWSUITS

Have you ever filed a lawsuit, other than this lawsuit, in any federal or state court while you
were incarcerated? xX Yes___ No (check one).

If your answer is “Yes,” complete this section of the form. If you have filed more than one
previous lawsuit, use additional paper to provide the requested information for each | previous
lawsuit. Please indicate that additional paper is attached and label the additional pages
regarding previous lawsuits as “E. PREVIOUS LAWSUITS.” |

Name(s) of defendant(s): DEAN wittsAms THE Peon ocr Ware oc
THE PEOME '
15 J0-6v- 0.0303 Dit siet Coyer] (PL V0.1: 18-<¥-0€9 ¥A- TB} [Dee

Docket number and court: 12 46-CV- 00265 pictrict uct | Team tery 19-1036
!

Claims raised: false smpcis onmeat ZAM A Soverezen

Disposition: (is the case still pending?

has it been dismissed?; was relief granted?) Pend 1a, SEE E-PREvious CAwsuris

N = A Sée €.PREVZ0US LAwSUZTS

Reasons for dismissal, if dismissed:

 

N- A SEE E- PREVEOUS LAW SurtS
Civil ae 17 dO~C V~ 005 66 ~ GPE S-Disdeict court
See Attache Pages tg, PREVIOUS LAWs uits”

Result on appeal, if appealed:

F. ADMINISTRATIVE REMEDIES

WARNING: prschers must exhaust administrative remedies before filing an action in federal
court regarding prison conditions. See 42 U.S.C. § 1997e(a). Your case may be dismissed or
judgment entered against you if you have not exhausted administrative remedies.

Is there a formal grievance procedure at the institution in which you are confined?

XX. Yes _»_ No (check one)
Did you exhaust administrative remedies?

xX Yes___ No (check one)
Case No. 1:20-cv-01113-LTB Document 1 filed 04/20/20 USDC Colorado ‘pg 22 of 33

fe . ‘ -
“E ADMINS STRATIVE RemEN Tes" "_E,PREVTOUS PawsuaTs.”” “OD, STATEMENT OF CLAIMS” |
[ Property of | Wind [ 184466 |'5 pages | 2 double sided sheets of paper | Purchased from Legal Services on | 3/9/2020 | $0.50 _

{

Wind v. People, 774 Fed. Appx. 449

e
United States Court of Appeals for the Tenth Circuit

May 28, 2019, Filed

Reporter

No. 19-1036
|
|
774 Fed. Appx. 449 * | 2019 U.S. App. LEXIS 15704 ** | 2019 WL 2263506

|

(-

EMPEROR MESSIAH/KING PROPHET GREGORY CARL WIND, JR., Plaintiff - Appellant, v. THE rnd: THE
STATE OF COLORADO ATTORNEY GENERAL; THE PEOPLE OF THE STATE OF rhe ETARY OF

STATE; THE PEOPLE OF THE STATE OF COLORADO GOVERNOR'S; THE PEOPLE:OF PHE STATE OF COLORADO
ADAMS COUNTY COURT, Defendants - Appellees. A
Notice: |

PLEASE REFER TO FEDERAL RULES OF APPELLATE nee LE 32.1 GOVERNING THE CITATION TO

UNPUBLISHED OPINIONS. gw

Prior History:

   

[**1] (D.C. No. 1:18-CV-0298215B), (B*

oe

lo.).

Core Terms

 

IFP, district court, prosecute

 

Counsel: EMPEROR MESSIAH/KING PROPHET GREGORY CARL WIND, JR., Plaintiff - Appellant, Pro se Denver, CO.

Judges: Before LUCERO, PHILLIPS, and EID, Circuit Judges.

Page 1 of 5

 
Case No. 1:20-cv-01113-LTB Document 1 filed 04/20/20 USDC Colorado pg 23 of 33

 

Property of _| Wind [184466 | Spages | 2 double sided sheets of paper [ Purchased from Legal Serviceson | 3/9/2020 | $0.50

Opinion by: Gregory A. Phillips

Opinion

 

[*450] ORDER AND JUDGMENT*£&

Gregory Carl Wind, Jr., a Colorado state prisoner proceeding pro se,1& appeals the dismissal of his 42 ey action.
The district court dismissed Mr. Wind's claim without prejudice for failure to prosecute under Fed. ‘p i . Exercising

jurisdiction under 28 U.S.C. § 1291, we affirm.

[*451] BACKGROUND *
+

On November 19, 2018, Mr. Wind filed a § 1983 complaint isti 2 ollowing defendants: the Colorado Adams County

Court, the Colorado Attorney General, the Colorado ovata at the Colorado Secretary of State.2& The complaint was

unintelligible, and the only identifiable potential “iy

as that Mr. Wind was a sovereign, meaning "the State of Colorado

lacks all jurisdiction over [him]." R. vol. I at®. MryWind stated that he was seeking monetary damages.

On November 28, 2018, the me] ju fe ssigned to the case entered an order directing Mr. Wind to file an amended
ui

der Rule 8 of the Federal Rules of Civil Procedure, Mr. Wind's complaint must contain

  
 
 
 

complaint. The court outli ha

"(1) a short and plai Qy the grounds for the court's jurisdiction, [**2] ... (2) a short and plain statement of the claim
showing tha XS is entitled to relief; and (3) a demand for the relief sought." R. vol. | at 23. The court informed Mr.
Wind that his original complaint did not comply with Rule 8. Accordingly, the court ordered Mr. Wind to file an amended
complaint "within thirty days from the date of the Order."3& R. vol. ] at 24. The court warned that failure to comply with the

order would result in dismissal of the action.

Mr. Wind did not do as told. Instead, he filed several documents titled "amended complaint" that contained the same
incomprehensible writings as his initial complaint. He also filed a document titled "power of attorney" and one titled "affidavit

of truth." None of these documents complied with Rule 8.

Page 2 of 5
 

Opinion by: Gregory A. Phillips

}
1
}

Opinion \ . : |

&
* . *

[*450] ORDER AND JUDGMENT*£

as }

_ Gregory Carl Wind, Jr., a Colorado state prisoner proceeding pro se, L& appeals the dismissal of his 42 U.S.C Gy action.

The district court dismissed Mr. Wind's claim without prejudice for failure to prosecute under Fed. RaCix. Tb). Exercising

 
 

we

te

jurisdiction under 28 U.S.C. § 1291, we affirm:

1

 

- [#451] BACKGROUND ef
. ' + at “eet
On November 19, 2018, M Mr. Wind filed a § 1983 complaint: Ket ‘he ollowing defendants: the Colorado Adams County *

Court, the Colorado Attorney General, the Colorado ge the Colorado Secretary of State.2% The complaint was

unintelligible, and the only identifiable potential of yas that Mr. Wind was 4 sovereign, méaning "the State of Colorado

lacks all jurisdiction over [him]." R. vol. I até. Mind stated that Hie was seeking monetary damages.

fu |
On November 28, 2018, the magistygte ju Ge: ssigned to the case entered an order directing Mr. Wind to file an amended

complaint. The court outlingd thatu ‘der Rule 8 of the Federal Rules of Civil Procedu ure, Mr. Wind's complaint must contain

"(1) a short and. d.playp fatetent of the grounds for the court's jurisdiction, [**2] . ..(2)a short and plain stateinent of the claim

_ showing thats fing cider is entitled to relief; and (3) 4 der mand for the relief ssught. "RB. vol. Lat 23. The court informed Mr. }

Wind that his 0 ginal complaint, ‘aid not comply with Rule 8. Accordingly, the court ordered Mr. Wind to file an amended

complaint ' ‘within thirty days from the date of the Order. "3% R. vol. | at 24. The court warmed that failure to comply with the ,

order would result in dismissal of the action.

+
3

Mr. Wind did not do as wl Instead, he filed several documents titled "amended complaint" that contained the same

incomprehensible writings as his initial’ complaint. He also filed a document titled "power of attorney" and one titled “affidavit:

of truth.” None of these documents complied with Rule 8.

we pekrnimep Set ome

ABS te tinge ya dae
preter ti a |

 
Case No. 1:20-cv-01113-LTB Document 1 filed 04/20/20 USDC Colorado pg 25 of 33

cs -
' KADMINISTRATIVE REMEDIES.” E. PRevrous LAWSUITS.” ), STATEMENT Of (LATMS.”
[ Property of || Wind | 184466 | 5 pages | 2 double sided sheets of paper | Purchased from Legal Services on [ 3/9/2020 ] $0.50 |

 

On January 4, 2019, the district court entered an order dismissing Mr. Wind's case. The order detailed that Mr. Wind had failed
to comply with the magistrate's November 28 order by failing to file an "amended complaint that conforms to the requirements
set forth in Fed. R. Civ. P. 8." R.,vol. I at 62. So, the court held that Mr. Wind had failed to prosecute and dismissed the
complaint without prejudice under Fed. R. Civ. P. 41(b). The court certified that any appeal taken would not beltaken in [**3]
good faith and, the court warned, should Mr. Wind appeal he would be responsible for the $505 appellate filing’ fee or he would

have to file a motion to proceed IFP before this court. Mr. Wind timely filed a notice of appeal. He has also moved to proceed

|

IFP on appeal.

DISCUSSION ©

I. The district court did not abuse its discretion when it dismissed Mr. Wind's complaint. Lp Nx

We review for an abuse of discretion a district court's order dismissing a § 1983 cl imfier failun to prosecute. Harvey Vv.
Thompson, 746 F. App'x 722, 726 (10th Cir. 2018). A district court abuses « discfetion when its actions are "arbitrary,
capricious, or whimsical." United States v. Pacheco, 884 F.3d 1031, oe 2018).

Mr. Wind points us to nothing resembling an abuse of an am <\ see none ourselves. A district court has the sua sponte
[*452] authority to dismiss a claim when a ge as Tidy to" covecute his case. Link v. Wabash R. Co., 370 US. 626, 630,
82 S. Ct. 1386, 8 L. Ed. 2d 734 (1962). "The “eh Qgecute one's claim (or face dismissal) is a fundamental precept of

REVS.

modern litigation... ." Rogers vy. Andrus Transp. Sexus., 502 F.3d 1147, 1152 (10th Cir. 2007).

 

Here, the magistrate's order explaing in detat? the problems with Mr. Wind's initial pleading. The magistrate then instructed
Mr. Wind how to cure a Ans gave him ample time to amend. Mr. Wind did not take advantage of the court's advice
a

or the additional tim x r. Wind filed several [**4] documents containing the same language the courthad already told

him was wee A

cordingly, the district court did not abuse its discretion in dismissing Mr. Wind's case without prejudice.

II. We deny Mr. Wind's motion to, proceed IFP.

This matter is also before the court on'Mr. Wind's motion to proceed IFP and, as a related matter, whether this filing should
count as a "strike" under the Prison Litigation Reform Act (PLRA), 28 U.S.C. § 1915(g). "In order to succeed on his [IFP]
motion, an appellant must show a financial inability to pay the required filing fees and the existence of a reasoned, nonfrivolous

|
argument on the law and facts in support of the issues raised on appeal.” DeBardeleben v. Quinlan, 937 F.2d 502, 505 (10th Cir.

Page 3 of 5
Case No. 1:20-cv-01113-LTB Document 1 filed 04/20/20 USDC Colorado pg 26 of 33

toa Td

| Property of — | Wind | 184466 [ Spages | 2 double sided sheets of paper | Purchased from Legal Services on | 3/9/2020 | $0.50

1991) (citing Coppedge v. United States, 369 U.S. 438, 82 S. Ct. 917, 8 L. Ed. 2d 21 (1962)). The Supreme Court has made
clear "that merit or lack of merit is not the test" for determining such a motion. Ragan v. Cox, 305 F.2d 58, 60 (10th Cir. 1962).
All that is needed is "a rational argument on the law or facts." Elliot v. Davies, 947 F.2d 953, 953 (10th Cir. 1990). Mr. Wind's
appeal does not contain a "reasoned, nonfrivolous argument on the law and the facts." DeBardeleben, 937 F.2d at 505.

Accordingly, we deny Mr. Wind's motion to proceed IFP and order immediate payment of the unpaid balance due.

Additionally, this appeal will count as a strike under the PLRA. "Under the PLRA, prisoners obtain a 'strike' against them for
purposes [**5] of future ifp eligibility when their ‘action or appeal in a court of the United States . .. was dismissed on the
grounds that it is frivolous, malicious, or fails to state a claim upon which relief may be granted... ." Hafed v. Fed. Bureau of
Prisons, 635 F.3d 1172, 1176 (10th Cir. 2011) (quoting 28 U.S.C. § 1915(g)) (abrogated on other grounds as recognized by
Carr v. Zwally, 760 F. App'x 550, 558 (10th Cir. 2019)). A prisoner cannot bring a civil action or appeal once“heshas obtained
’ three strikes, unless "under imminent danger of serious bodily injury." § 1915(g). LO

The district court dismissed Mr. Wind's complaint without prejudice for failure to prosecuté"@r fin: Lily, dismissal for failure to
prosecute does not count as a strike under § 1915(g). Hafed, 635 F.3d at 1179. So, AY doés not receive a strike for the

district court's dismissal. But we deem this appeal frivolous and, as a result, assesche strike for Mr. Wind's appeal of the

ee

district court's order.

CONCLUSION oO.

We affirm the district court's judamendetnsr. Wind's motion to proceed IFP, and assess Mr. Wind one strike under the

PLRA. All other outstanding ttl as moot.
Entered for the >< oR

Gregory A. Philips

Circuit Judge
Footnotes
e **F

After examining the briefs and appellate record, this panel has determined unanimously that oral argument would not
materially assist in the determination of this appeal. See Fed. R. App. P. 34(a)(2); 10th Cir. R. 34.1(G). The case is
therefore ordered submitted without oral argument. This order and judgment is not binding precedent, except under the
doctrines of law of the case, res judicata, and collateral estoppel. It may be cited, however, for its persuasive value
consistent with Fed. R. App. P. 32.1 and 10th Cir. R. 32.1.

Page 4 of 5
2 Touble sided sheets of paper Purchased from Les gal Services on

1991) (citing C Coppeds éN. United States, 369 U.S. 438, ‘82 .. ct. 917, 8 L. Ed. 2d 21 (1962)). The Supreme Court Has made.
305 F.2d 58, 60 (10th Cir"1962).- cs

10th Cir. 1990)! Mr. Wind's

   

    

clear "that merit or lack of merit is not the ‘test" for determining such a motion. Ragan pf Ox,
” All that is needed is "a rational argument on the law or facts.’ ' Elliot v. Davies, 947 F.2d 953, 953 (
. gpa does not contain a "reasoned, nonfrivolous argument on the law and the facts.’ ' DeBardeleben, 937 F.2d at 505.

Accordingly; , we deny Mr. Wind’ s motion to proceed: TP ‘and order iminediate payment of the unpaid balance due.

. . . 1 ‘
Additionally, this appeal will count as a strike under the PLRA. "Under the PLRA, prisoners obtain a ‘strike’ against them for i
purposes [**5] of future ifp eligibility when their ‘action or appeal in a court of the United States - . was dismissed on the
grounds that it is frivolous, ma alicious, ‘or. fails to state a claim upon which relief may be granted . . ™ Hafed v.F ‘ed. Bureau of '
_ Prisons, 635 F.3d 1172, 1176 (10th Cir. 201 1) (quoting 28 U.S.C. § 1915(g)) (abrogated on other grounds as recognized by

Carry. Zwally, 760 F. App'x 550; 558 (10th Cir. 2019). A prisoner cannot bring 4 civil action or appeal onceihe*has obtained’
three strikes, unless ‘under imminént danger of serious bodily injury.’ '§ 191 5(g). . ft LY ae

t * '

1 . a, 2 ‘ :
_ The district court dismissed Mr! Wind's complaint without prejudice for failure ‘to prosecué: expen dismissal for failure fo:
” prosecute does not count asa strike under § 1915(g). Hafed, 635 F.3d at 4179. “sk | does “not receive a strike for the

district court's dismissal. But we deem this appeal ft frivolous and, as a result, assess One strike for Mr. Wind's appeal ofthe >! .

CONCLUSION &
;o-
&

* district court's order.

We affirm the district court's judgmentegéiscMe Wind's motion to proceed [FP, and’assess Mr. Wind one stlike under the * »
- PLRA. All other outstanding mo mstare énieéd as moot. . i
t ‘ 4 ‘
“ ' XL " 4 r . t uh
_ Entered for the > << eat i t ,
Gregory A. Pitillips : ‘ ¢
- % |
Circuit Judge , my |
Footnotes | i '
Pole :
. **¥ |

After examining t the priefs and appellate record, this panel ‘has 5 determined unanimously that oral argument would not
materially assist in the determination of this appeal. See Fed. R. App. P. 34(a)(2); 10th Cir. R. 3411(G). The case is
therefore ordered submitted without oral argument. This order and judgment is not binding precedent, except under the
doctrines of law of thé case, Tes judicata, and collateral estoppel. It may be cited, however, for its persuasive value

consistent with Fed R. App p.32.1-and-10th Cir. R. 32. 1,

1 . Page 4 of 5

'
Case No. 1:20-cv-01113-LTB Document 1 filed 04/20/20 USDC Colorado pg r of 33

\ oe — 4 — —_ —_ a
i ADMINESTRATEVE REMED TES” E, PREVIOUS LAwsutTs.”?__'* 0, STATEMENT Of CLAIMS."
[ Property of [| Wind [ 184466 | 'Spages | 2 double sided sheets of paper | Purchased from Legal Services on | 3/9/2020 [ $0.50

o #%1*

We construe Mr. Wind's pleadings liberally but we will not act as his advocate. United States \. Pinson, 584 F.3d 972,
975 (10th Cir. 2009).

« 2F

Mr. Wind also moved to proceed 1 in forma pauperis (IFP). The magistrate granted the IFP motion and permitted Mr.
Wind to proceed without paying an initial partial filing fee. But the court required Mr. Wind "to pay the required
350.00 filing fee through monthly installments.” R. vol. I at 20.

e «63F

The court clarified that Mr. Wind needed to explain "(1) what a defendant did to him; (2) when the defendant did it; (3)
how the defendant's action harmed him; and (4) what specific legal right the defendant violated." R. oe at 24.

Page 5 of 5

 
Case No. 1:20-cv-01113-LTB Document 1 filed 04/20/20 USDC Colorado pg 29 of 33
y

Case No. 1:20-cv- 01113- LTB: Document 1 filed 04/20/20 USDC Colorado pg 40 of 33°
"Ee, PREVIOUS Lawsurps:"
Case 1: 20- -CV- -00586- LTB Document 6 Filed 04/10/20 Uspc Colorado Page 1 of 3

|
a ‘

i

{

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO.

Civil Action No. 20-cv-00586-GPG
a “or
GREGORY WIND," ,

. {
Plaintiff, °°
1

V. i

‘COLORADO ATTORNEY GENERAL, \
GOVERNOR JARED POLIS, .
ADAMS COUNTY COMBINED COURT, .
DEAN WILLIAMS, Executive Director,
UN ITED STATES DEPARTMENT OF JUSTICE,
WARDEN RYAN LONG,
LT. WILL, ,
. LT. ZYLSTRA,
WARDEN THOMAS. LITTLE,
FEDERAL BUREAU OF INVESTIGATIONS, . -
COLORADO SECRETARY OF STATE, ,
COX, Case Manager,
LARRY WINEGARDNER,; -CMIIl,
DONALD NUNEZ, Major,
STEVEN BOURNE, Captain, . .
MAT WINDEN, Warden,
THE DENVER. POST,
SOLICITOR GENERAL OF THE UNITED STATES, and
ADAMS COUNTY SHERIFF’S DEPARTMENT,
a Defendants,
{ 4

| ORDER OF DISMISSAL
4

| .
On February 28, 2020, Plaintiff submitted a Prisoner Complaint, ECF No. 1, and

ok ‘ #
|
1 Although Plaintiff teferd to his name as “Gregory ‘Carl: Wind Jr., TMWOP LLC Emperor Messiah King
Prophet © Abdul- Hakeem’ on the Complaint form, the Court finds that the Colorado Department of
Corrections’ (DOC' s)' website lists him as “Gregory Wind.” : In keeping with the DOC’s inmate registration,
« _ the Court will identify Plaintiff as Gregory Wind and not otherwise.,
4 we ° .
|

# wf | .
i . * 1
t
|
{

 

 

#

| 4

 
Case No. 1:20-cv-01113- LTB Document 1 filed 04/20/20 USDC Colorado Pg 31 of 33
PREVIOUS LAwSUaTS: |

Case 1:20-cv-00586-LTB Document6 .Filed 04/10/20 USDC Colorado Page 2 of 3 -

f
t

a “Motion to Proceed Pursuant to (5 USCS § 701.et seq) 30 ALR Fed 714 and Pursuant
to U.S. Public Law 97-280 ‘The Word of God’ (Common Law),” ECF No. 3. Magistrate
Judge Gordon P. Gallagher entered an Order to Cure Deficiencies, ECF No.4, on
March 3, 2020, that directed Plaintiff to file a Prisoner Complaint that provides all
information requested in Section E. of the Court-approved form and either to submit a
Prisoner's Motion and Affidavit for Leave to Proceed Pursuant to 28 U.S.C. § 1915 or in
the alternative to pay the $400 filing fee. “Magistrate Judge Gallagher also warned
Plaintiff that the action would be dismissed without further notice if he failed:to cure’ the
deficiencies within. thirty days.
Rather ‘than comply with the March 3, 2020 Order, Plaintiff filed a pleading titled,
“Writ of Mandamus 34 Am Jist Mand § 2.An Extraordinary,” ECF No. 5. The Writ bf
Mandarnus is nonresponsive to the March 3 Order to Cure Deficiencies. Because

| .
Plaintiff has failed to.comply with March 3 Order to Cure Deficiencies within the time

 

allowed, the Coult will dismiss the action. |

The Court also certifies pursuant to 28 U.S.C. § 1915(a)(3) that any appeal from
this Order is not taken in good faith, ‘and, therefore, in forma pauperis status is denied
for the purpose of appeal. See Coppédge v. United States, 369 U.S. 438 (1962).
Plaintiff files a notice of appeal, he must also pay thé full $505.00 appellate filing fee or
file a motion to procebd in forma pauperis in the Tenth Circuit within thirty days in
accordance with Fed!R. App. P. 24. Accordingly, itis ,

ORDERED that the action is dismissed without prejudice pursuant to Fed. R.' Civ.

P. 41(b) for failure to cure the deficiencies and for failure to prosecute. ‘It is

# |
| 2

wee me

 
Case No. 1:20-cv- opts LTB, ROR ED ENS 1 ded 04/20/20 USDC Colorado ‘pg B2 of 33

t

Case 1:20-cv- -00586- LTB -Document 6 * Filed 04/10/20 USDC Colorado Page 3jof 3

i
: é

| ee
FURTHER ORDERED that leave to proceed in forma pauperis on appeal is

denied. | It is

4

FURTHER ORDERED that-all pending motions are denied as moot.

DATED at:Denver, Colorado, this _10'"_ day of ___ April , 2020. °

|

3 ‘ BY THE COURT:
s/Lewis T. Babcock

' LEWIS T. BABCOCK, Senior Judge,
mt United States District Court.

ae ee

 
Case No. 1:20-cv-01113-LTB Document 1 filed 04/20/20 USDC Colorado pg'33 of 33

.
G. REQUEST FOR RELIEF !
State the relief you are requesting or what you want the court to do. If additional space is needed
to identify the relief you are requesting, use extra paper to request relief: Please indicate that

additional paper is attached and label the additional pages regarding relief as “G. REQ EST
FOR RELIEF.” 015 CHARGE THE DEBTOR 5 GREGORY (ane WIND and Release the Flesh aad Blood man

taregory~ (atVeWind BRS SEE UCC EINAY (2G STATEMENT! ALL Cord tales of pci
. ' it
Document LH334106K as hevein hened and cleamed ata sum certain
i: _ { Gin
$ 6 ,000,000,000.94 ( six BULLION DOLLARS and ZERO CENTS) seid teistral ‘on ‘ hy Sects
cue

fre CGVat5, Tr lel) and tad evest in and of the Root of vithe and Birth ceckfieade
AP KLYS34106K Adddional Paper ‘s attached ““G, REQUEST FoR RELIEE

On case 170K 3013 Request For Relveé vs $ |9-O0065 A Day for Gach de Hear
MLWind \nas heer held 45 @ (aphive thestwe since August—08 - 20 Iq a
On (ase IF (RAGE Reguest For Rolie l Sf 4000-000, 006.05

n (ase co by.
0 FF GER 304) Rees for Rohit v's $'10,000,000-000.00 70 be paid

a te we WMT or Fold far tLe Stun ard
| US, .
H. PLAINTIFF’S|SIGNATURE 5 Dollar oF Rfual Value in Goid |

I declare under penalty of perjury that ] am the plaintiff in this action, that I have read this
complaint, and that the information in this complaint is true and correct. See 28 U.S.C. § 1746;

18 U.S.C. § 1621.

Under Federal Rule of Civil Procedure 11, by signing below, I also certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an improper
purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending or modifying
existing law; (3) the factual contentions have evidentiary support or, if specifically so identified,
will likely have evidentiary support after a reasonable opportunity for further investigation or
discovery; and (4) the complaint otherwise complies with the requirements of Rule 11.

Ay EMPEROR MESSIAH AZNG PROPHETO Abdu)-HaKim —_ \

|
pain Woprec under threat duress
Gnd Cae(clor

 

 

Thursday - Apes) - 09-2090 /shaban ~ th-144 |
ate

(Form Revised December 2017)
